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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA, et al., )
                                     )    Civil Action Nos. 11-74 (RBW)
ex rel. LESLEY FERRARA, et al.,      )                      11-1596 (RBW)
                                     )                      11-1662 (RBW)
             Plaintiffs,             )                      13-221 (RBW)
                                     )                      13-1529 (RBW)
        v.                           )                      17-791 (RBW)
                                     )
NOVO NORDISK, INC., et al.,          )
                                     )
             Defendants.             )
____________________________________)

                                                ORDER

        As explained in the Court’s May 16, 2018 Order, “[i]n July 2017, the parties [in the

above-captioned cases] entered into a settlement agreement resolving the plaintiffs/relators’

claims and requiring Novo Nordisk[, Inc. (‘Novo Nordisk’)] to pay to the United States and

various plaintiff states (the ‘Named Plaintiff States’) a total settlement amount of $46,500,000

plus interest (the ‘Total Settlement Funds’).” E.g., Order at 2 (May 16, 2018), United States ex

rel. Ferrara, et al. v. Novo Nordisk, Inc., et al., Civ. Action No. 11-74, ECF No. 97. The portion

of the Total Settlement Funds paid to the United States resolved the plaintiffs/relators’ claims

brought under the qui tam provisions of the False Claims Act (“FCA”), 31 U.S.C. § 3730(b)

(2016), (the “federal FCA settlement”), and the portion of the Total Settlement Funds paid to the

Named Plaintiff States resolved the plaintiffs/relators’ claims brought under various FCA-analog

state statutes (the “state settlement”). See, e.g., id.

        On May 16, 2018, the Court ordered “the relators in the above-captioned cases [to] file a

joint notice indicating whether any relator objects to the proposed order attached to the United

States’ Unopposed Motion for Court Registry Deposit [(‘United States’ Mot.’)],” e.g., id. at 4,
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which requests that the Court issue an order permitting the United States to deposit into the

Court’s registry “[f]ifteen percent of the total recovery (including interest) [paid by] Novo

Nordisk [to the United States,] . . . [which] amounts to $6,543,734.55,” e.g., United States’ Mot.

at 3, Ferrara, et al., Civ. Action No. 11-74, ECF No. 96. In addition, the Court ordered the

relators and the Named Plaintiff States, “if [they] agree[d] on the terms of a deposit into the

Court’s registry of a percentage of the Total Settlement Funds paid by Novo Nordisk to the

Named Plaintiff States, . . . [to] file a joint proposed order outlining those terms,” or “[i]n the

event that [they] c[ould not] agree on the terms of a deposit of the[] funds, . . . [to] file separate

submissions setting forth their respective positions.” E.g., Order at 4 (May 16, 2018), Ferrara, et

al., Civ. Action No. 11-74.

         On May 21, 2018, the relators timely filed a response to the Court’s Order, in which they

indicated “that no relator opposes the Proposed Order submitted with the United States’ motion.”

Relators’ Joint Notice Regarding United States’ Proposed Order for Deposit of Settlement Funds

into the Registry of the Court at 1 (May 21, 2018), United States ex rel. Kennedy v. Novo A/S, et

al., Civ. Action No. 13-1529, ECF No. 105. Thereafter, on May 25, 2018, the Named Plaintiff

States filed the Named Plaintiff States’ Notice of Agreed Joint Proposed Order to Deposit Funds

into Court Registry (“Named Plaintiff States’ Notice”), which set forth agreed terms for the

“deposit into the Court[’s] [r]egistry the amount of $381,317.86, which represents the sum of . . .

[fifteen percent] of the portion of the separate settlements [and interest] paid by Novo Nordisk [ ]

to the participating Named Plaintiff [ ] States [obligated] to pay a relator share, if any.” E.g.,

Named Plaintiff States’ Notice at 3, Ferrara, et al., Civ. Action No. 11-74. Accordingly, it is

hereby

         ORDERED that the United States’ Unopposed Motion for Court Registry Deposit is



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GRANTED. It is further

          ORDERED that the United States is granted leave to deposit the sum of $6,543,734.55

into the Court’s registry, which represents fifteen percent of the amount paid by Novo Nordisk to

the United States pursuant to the federal FCA settlement with Novo Nordisk. The amount shall

be held in the Court’s registry pending the Court’s adjudication of the relator share dispute

amongst the relators over entitlement to a relator share of the federal FCA settlement proceeds

and until all appeals are exhausted (or the time for filing any notices of appeal has expired). It is

further

          ORDERED that the Named Plaintiff States are granted leave to deposit into the Court’s

registry the sum of $381,317.86. 1 The amount shall be held in the Court’s registry, with interest

accrued on the funds deposited into the account, subject to distribution to the appropriate

relator(s) determined by the Court once the Court adjudicates the relator dispute and all appeals

are exhausted (or the time for filing any notices of appeal has expired, or by agreement of all

relators and the Named Plaintiff States). It is further

          ORDERED that Plaintiff/Relator David Myers’ Motion to Deposit the Disputed Global

Settlement Funds into the Court’s Registry, United States ex rel. Myers v. Novo Nordisk, Inc.,

Civ. Action No. 11-1596, ECF No. 71, is DENIED AS MOOT. It is further

          ORDERED that Plaintiff/Relator McKenzie Stepe’s Motion to Deposit the Disputed


1
  According to the Named Plaintiff States, this amount represents the sum of $378,575.53, which is fifteen percent
of the portion of the separate settlements paid by Novo Nordisk to the participating Named Plaintiff States obligated
to pay a relator share, if any, and $2,742.33, which is fifteen percent of the interest paid by Novo Nordisk to the
participating Named Plaintiff States obligated to pay a relator share, if any. The relators have stated that they do not
waive the right to contest this figure at a later date if, for instance, there is a dispute about whether a particular
Named Plaintiff State must contribute to a relator’s share, or the extent of that contribution. The relators also do not
waive the right to additional relator share funds from the Named Plaintiff States once the prevailing relator(s) is
determined or agreed upon; rather, this Order, like the Order to deposit funds in the Court’s registry as to the federal
FCA settlement, is intended only to ensure the accrual of interest on the minimum portion of the relator share
amount that will need to be paid, and to defer any dispute about the proper relator share percentage for later
determination.

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Global Settlement Funds into the Court’s Registry, United States ex rel. Stepe v. Novo Nordisk,

Inc., Civ. Action No. 13-221, ECF No. 61, is DENIED AS MOOT.

         SO ORDERED this 1st day of June, 2018.


                                                           REGGIE B. WALTON
                                                           United States District Judge




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